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          IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION


ANDREW H. WARREN,

                   Plaintiff,              Case No. 4:22-cv-302-RH-MAF
v.
RON DESANTIS, individually and in
his official capacity as Governor of the
State of Florida,

               Defendant.
___________________________________

              UNOPPOSED MOTION TO TAKE DEPOSITION
                   OF NON-PARTY SUSAN LOPEZ
                   AFTER CLOSE OF DISCOVERY
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      Pursuant to this Court’s Scheduling Order [Doc. 69 at 3] the close of discovery
in this matter is November 14, 2022. Non-Party Susan Lopez, who is currently

serving as State Attorney for the 13th Judicial Circuit, was set to be deposed on that
date and was set to produce documents before that date. After discussions with
counsel for Ms. Lopez about outstanding documents to be produced and considering
the closures associated with what is now Tropical Storm Nicole, undersigned
counsel would like to depose Ms. Lopez on Wednesday November 16, 2022, two
days after the discovery deadline. Counsel for Ms. Lopez and counsel for the

Governor do not oppose this motion.
                                    Conclusion
      This unopposed Motion should be granted, and Plaintiff should be permitted
to take the deposition of Ms. Lopez on November 16, 2022.




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Dated: November 10, 2022           PERKINS COIE LLP
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          LOCAL RULE 7.1(B) CERTIFICATE OF COMPLIANCE

      I certify that pursuant to Local Rule 7.1(B), counsel for Plaintiff conferred
with counsel for Defendant by email regarding the subject of this Motion. Defendant
does not oppose this Motion.

                                             /s/ Jean-Jacques Cabou




          LOCAL RULE 7.1(F) CERTIFICATE OF COMPLIANCE
      I certify that this Motion and Supporting Memorandum contains 134 words,
with such word count incorporating all portions of this document subject to the word
limitations imposed under Local Rule 7.1(F).

                                             /s/ Jean-Jacques Cabou




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                       CERTIFICATE OF SERVICE

      I hereby certify that on November 10, 2022, a true and correct copy of the
foregoing document was served upon all counsel of record via the Court’s CM/ECF

System for filing.

                                           /s/ Indy Fitzgerald




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